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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In re Application of Case No. 20-CV-

ABRAAJ INVESTMENT MANAGEMENT
LIMITED,

For An Order To Obtain Discovery For Use
In Foreign Proceedings Pursuant To
28 U.S.C. §1782.

 

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EX PARTE APPLICATION OF THE JOINT OFFICIAL LIQUIDATORS OF

ABRAAJ INVESTMENT MANAGEMENT LIMITED FOR
AN ORDER TO CONDUCT DISCOVERY FOR USE IN
FOREIGN PROCEEDINGS PURSUANT TO 28 U.S.C. § 1782

David Soden of Deloitte LLP and Stuart Sybersma of Deloitte & Touche, acting as the
Joint Official Liquidators (“JOLs”) of ABRAAJ Investment Management Limited (in Official
Liquidation)(“AIML”), by their counsel, pursuant to 28 U.S.C. § 1782 and Federal Rules of Civil
Procedure 26, 34 and 45, respectfully request that this Court grant an ex parte order, in the form
annexed to the Declaration of Stuart Sybersma, dated June 9, 2020, as Exhibit A, authorizing the
JOLs to obtain certain limited discovery for use in the Cayman Proceedings (as defined in the
Application) and certain contemplated litigation in the Cayman Islands. In support of this
Application, the JOLs submit their Memorandum of Law and Declaration of Stuart Sybersma.

The requested relief is for purposes of discovery in connection with inter partes litigation
to be commenced against, among others, Arif Masood Naqvi, a former director of AIML, and
Silverline Holdings Limited, a Cayman Islands company controlled by Arif Masood Naqvi, as

well as for use in a certain liquidation proceeding entitled Jn the Matter of the Companies Law

(2018 Revision) and in the Matter of ABRAAJ Investment Management Limited, Cause No. FSD
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111 of 2018 (RMJ), commenced in the Grand Court of the Cayman Islands, Financial Division

on June 15, 2018.

Dated: June 12, 20202

KLESTADT WINTERS JURELLER
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Sybersma, the joint Official Liquidators of
ABRAAJ Investment Management Limited
